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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


AURACLE HOMES, LLC; FD                        :      CIVIL ACTION NO. 3:20-CV-829(VAB)
MANAGEMENT, LLC; BUCKLEY                      :
FARMS, LLC; ORANGE CAPITOL, LLC;              :
216 EAST MAIN STREEET MERIDEN,                :
LLC; BD PROPERTY HOLDINGS, LLC;               :
PRIME MANAGEMENT, LLC; AND                    :
HABERFELD ENTERPRISE, LLC,                    :
  Plaintiffs,                                 :
                                              :
      v.                                      :
                                              :
NED LAMONT                                    :
 Defendant                                    :      JUNE 19, 2020


                                         APPEARANCE

       TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD:

       Please enter my appearance in addition to Philip Miller as counsel for the Defendant in

his official capacity in the above-captioned case.

       Dated at Hartford, Connecticut, this 199h day of June, 2020.

                                                     DEFENDANT

                                                     NED LAMONT

                                                     WILLIAM TONG
                                                     ATTORNEY GENERAL

                                              BY:    /s/ Maria C. Rodriguez__
                                                     Maria C. Rodriguez
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                                        CERTIFICATION


       I hereby certify that on June 19th, 2020, a copy of the foregoing appearance was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s system.



                                                       /s/ Maria C. Rodriguez__
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